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 7   United States of America
 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         Case No. 1:16-cr-000127-DAD-BAM
12                      Plaintiff,
13           v.                                        ORDER RE: TAX RETURNS
14   ABDULLAH ALMASHWALI,
15                      Defendant.
16

17           The Court, having received and considered the Application of the United States for an Ex

18   Parte Order, pursuant to Title 26, United States Code, Section 6103(i)(1) and (4), directing the

19   Internal Revenue Service to disclose certain returns and return information in connection with the

20   above-referenced investigation, and good cause appearing, FINDS:

21           1. There is reasonable cause to believe, based upon information believed to be reliable,

22     that a specific criminal act or acts have been committed, namely Title 21, United States Code,

23     Section 846 (drug distribution conspiracy); and Title 21, United States Code, Section 841 (drug

24     distribution).

25           2. There is reasonable cause to believe that the returns and return information are or may

26     be relevant to a matter relating to the commission of such act or acts.

27           3. The returns and return information are sought exclusively for use in a federal criminal

28     trial concerning such act or acts, and the information sought to be disclosed cannot reasonably
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 1    be obtained, under the circumstances, from another source.

 2          4. Applicant, Assistant United States Attorney Grant B. Rabenn, and United States

 3    Attorney Phillip A. Talbert; Criminal Division Chief John Vincent; Fresno Criminal Chief Kirk

 4    Sherriff; Fresno White Collar Crime Chief Henry Z. Carbajal III.; Fresno Drug Unit Chief

 5    Kevin Rooney; Civil Division Chief David Shelledy; Assistant U.S. Attorney Grant B. Rabenn;

 6    Assistant U.S. Attorney Ross Pearson; Assistant U.S. Attorney Jeffrey Spivak; Contracting

 7    Paralegal Elisa Rodriguez; Paralegal Helen Bullard; Paralegal Sara Cooksey; IRS-CI

 8    Supervisory Special Agent Jeffrey Hodge; IRS-CI Special Kulbir Mand; DEA Special Agent

 9    Christen Brooke; DEA Special Agent John Rabaut; and U.S. Postal Inspector Jessica Burger,

10    are employees of, or contractors for, the United States Department of Justice, the United States

11    Department of Treasury, and the United States Postal Inspection Service, and all are personally

12    and directly engaged in, and the information sought is solely for their use in, the trial of

13    ABDULLAH ALMASHWALI in the above-mentioned criminal statutes and related asset

14    forfeiture proceedings.

15          IT IS, THEREFORE, ORDERED that the Internal Revenue Service:

16    (1) disclose such returns and return information of:
             Name:                 Abdullah ALMASHWALI:
17           SSN:                  131-966-248
             Address:              2203 Avenue X, Brooklyn, New York 11235
18           Taxable Period(s):    Tax years ending December 31, 2013, 2014, and 2015
19          Such tax return information shall include, but not be limited to: income tax returns (Forms

20    1040, Forms 1065, Forms 112), transcripts of account, IRP transcripts (Forms W-2, Forms
21    1099, Forms 1098, CTR’s, etc.), and payroll information (Forms 941 and employee

22    information).

23                    (2) certify where returns and return information described above have not been

24    filed or are not on file with the Internal Revenue Service;

25                    (3) disclose such returns and return information described above as may come into

26    the possession of the Internal Revenue Service subsequent to the date of this Order, but for not
27    longer than 90 days thereafter; and

28                    (4) authorize a competent witness employed by the Internal Revenue Service to
                                                       2
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 1    provide testimony at trial regarding such disclosed returns and return information.

 2          IT IS FURTHER ORDERED that the Applicant, or any other officers or employees of

 3    any federal agency, shall use the returns and return information disclosed solely in the pending

 4    federal trial regarding the alleged violations specified, and that no disclosure be made to any

 5    other person except in accordance with the provisions of Title 26, United States Code, Section

 6    6103(i)(1) and (4).

 7   IT IS SO ORDERED.
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        Dated:    March 20, 2017
 9                                                        UNITED STATES DISTRICT JUDGE

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